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         IN THE UNITED STATES DISTRICT COURT FOR THE
                 MIDDLE DISTRICT OF GEORGIA


AMERICAN CREDIT                     :
ACCEPTANCE, LLC,                    :
961 E. Main Street, 2nd Floor       :
Spartanburg, South Carolina 29302   :
                                    :
                 Plaintiff,         : Civil Action No. 7:13-cv-00080-HL
           v.                       :
                                    :
DRIVE ACCEPTANCE                    :
CORPORATION                         :
PO BOX 3127                         :
Moultrie, GA 31776                  :
                                    :
GEORGIA CAR CREDIT, INC.            :
701 GA Highway 133 South            :
Moultrie, GA 31788                  :
                                    :
JERRY LEE FRAZIER, JR.              :
701 GA Highway 133 South            :
Moultrie, GA 31788                  :
                                    :
JLF HOLDINGS, INC.                  :
701 GA Highway 133 South            :
Moultrie, GA 31788                  :
                                    :
                 Defendants.        :
                                    :


ORDER GRANTING JOINT MOTION FOR PERMANENT INJUNCTION

     THIS CAUSE comes before the Court upon the Joint Motion For Entry of

Permanent Injunction ("Joint Motion") of Plaintiff American Credit Acceptance
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(“ACA”) and Defendants Drive Acceptance Corporation (“Drive”), Georgia Car

Credit, Inc. (“GCC”), Jerry Lee Frazier, Jr. (“Frazier Jr.”) and JLF Holdings, Inc.

(“JLF”) (referred to collectively as “Defendants”).      Specifically, in the Joint

Motion, Plaintiff seeks permanent injunctive relief against Defendants with respect

to certain consumer accounts (“Accounts”), retail installment sales contracts

(“RISCs”) and automobiles that secure the Notes, Funding Agreement and/or

Amended Funding Agreement, all as amended, between Drive and ACA and/or

which are subject to any Receivables Purchase Agreements between Drive and

ACA, as those terms are defined in ACA’s Complaint. In the Joint Motion,

Defendants indicated their consent to the Court entering the permanent injunction

requested by Plaintiff.

      Accordingly, the Court, for good cause shown, hereby GRANTS the Joint

Motion and hereby ORDERS that:

      1.      Defendants, anyone acting on their behalf or in concert with them, and

any companies that they control, are permanently enjoined from contacting any

existing or future consumer or borrower associated with any existing or future

Account and/or RISC or for any reason associated with any existing or future

Account or RISC and/or payment on the Account or RISC.
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      2.      Defendants, anyone acting on their behalf or in concert with them, and

any companies that they control, will not collect or seek to collect on, or accept

payment on, any existing or future Account and/or RISC.

      3.      Defendants will execute any and all notices or documents deemed

necessary by ACA to provide any information or instructions to consumers or

borrowers with respect to any existing or future Account, RISC or automobile.

      4.      If Defendants, or any of them, receive any payment or monies with

respect to any existing or future Account or RISC, Defendants will remit that

payment or those monies to ACA within 24 hours of receipt.

      5.      Defendants, anyone acting on their behalf or in concert with them, and

any companies that they control, will not repossess any automobile associated with

any existing or future Account or RISC or encourage or induce any borrower or

consumer to voluntarily surrender such automobile to them.

      6.      If Defendants, or any of them, comes into possession of any

automobile associated with any existing or future Account or RISC, Defendants

will notify ACA within 24 hours of receipt, surrender the automobile to ACA and

provide ACA with reasonable opportunities to obtain the automobile.

      7.      Defendants shall not be required to respond to the Complaint.
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                 9th day of October, 2013.
SO ORDERED this ______


                              s/Hugh Lawson
                             The Honorable Hugh Lawson
                             United States District Court
                             Middle District of Georgia
